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 1   CLEMENTE M. JIMÉNEZ, ESQ.
     California State Bar Number 207136
 2
     431 I Street, Suite 102
 3   Sacramento, CA 95814
     (916) 443-8055
 4
 5   Attorney for Kyle Schmidt
 6
                                   UNITED STATES DISTRICT COURT
 7
                                   EASTERN DISTRICT OF CALIFORNIA
 8
 9
10   UNITED STATES OF AMERICA,                        CR. No.: 12-198 MCE

11                    Plaintiff,                       DEFENDANT KYLE SCHMIDT’S
12                                                     WAIVER OF PERSONAL
                vs.                                    APPEARANCE
13
14   KYLE SCHMIDT, et al.,

15                    Defendants.
16
17              Defendant, Kyle Schmidt, hereby waives his right to be personally present in open
18   court for the hearing of any status conference, motion or other proceeding in this case,
19   except that he will agree to be personally present for any plea, sentencing, or jury trial,
20   and he agrees to be personally present in court when so ordered by the court.
21              Defendant Schmidt hereby requests the Court to proceed during any absence of the
22   defendant that the Court may permit pursuant to this waiver. Defendant agrees that his
23   interests will be deemed represented at all times by the presence of his attorney or
24   designee, the same as if defendant were personally present. Defendant further agrees to
25   be present in court ready for trial on any date set by the court in defendant’s absence.

26   ///
27   ///

28   ///




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 1              Defendant Schmidt further acknowledges that he has been informed of his rights
 2   under Title 18 U.S.C. 3161-3174 of the Speedy Trial Act and authorizes his counsel to set
 3   times and delays under the Act without her being present.
 4
 5
     DATED: April 20, 2015                I consent to the above waiver of personal appearance.
 6
                                          /s/ Kyle Schmidt___________________________
 7                                        KYLE SCHMIDT
 8
 9
10   DATED: April 20, 2015                I agree to the above waiver of personal appearance.
11                                        /s/_Clemente M. Jiménez___________________
12                                        CLEMENTE M. JIMÉNEZ
13
14
                                                ORDER
15              IT IS SO ORDERED.
16   Dated: April 23, 2015
17
18
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     04/23/15
